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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    Semcon IP Inc.,

                    Plaintiff                                 Civil Action No. 2:16-cv-00437
                                                                        (Lead Case)
    vs.
                                                                    Jury Trial Demanded
    Huawei Device USA Inc., et. al

                    Defendants.

    Semcon IP Inc.,

                    Plaintiff
                                                              Civil Action No. 2:16-cv-00439
    vs.
                                                                    Jury Trial Demanded
    STMicroelectronics, Inc., et. al

                    Defendants.


                                AMENDED DOCKET CONTROL ORDER

          Having considered the Unopposed Motion to Amend Docket Control order filed by

   Defendant STMicroelectronics, Inc. (“STI”), and finding good cause thereto, the following

   schedule of deadlines shall be in effect in the STI case until further order of this Court:

    Current Deadline                   New Deadline                     Event
    April 2, 2018                      Unchanged                        *Jury Selection – 9:00 a.m. in
                                                                        Marshall, Texas before Judge
                                                                        Rodney Gilstrap
    March 22, 2018                     Unchanged                        *Pretrial Conference – 9:00
                                                                        a.m. in Marshall, Texas
                                                                        before Judge Roy Payne
    March 20, 2018                     Unchanged                        *Notify Court of Agreements
                                                                        Reached During Meet and
                                                                        Confer.
                                                                        The parties are ordered to
                                                                        meet and confer on any
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    Current Deadline         New Deadline             Event
                                                      outstanding objections or
                                                      motions in limine.
    March 19, 2018           March 20, 2018           *File Joint pretrial Order,
                                                      Joint Proposed Jury
                                                      Instructions, Joint Proposed
                                                      Verdict Form, Updated
                                                      Exhibit List Updated Witness
                                                      Lists, and Updated
                                                      Deposition Designations


            So ordered and signed
            Mar 20, 2018
